               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                     Civil Case No. 1:12-cv-00266-MR
                 [Criminal Case No. 1:01-cr-00048-MR-9]


TIMNAH RUDISILL,          )
                          )
         Petitioner,      )
                          )
    v.                    )                      ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER is before the Court on an initial review of Petitioner’s

Motion to Vacate, Set Aside or Correct Sentence filed pursuant to 28

U.S.C. § 2255 [Doc. 1]. For the reasons that follow, Petitioner’s Section

2255 motion will be dismissed.

I.     BACKGROUND

       On August 19, 2002, Petitioner was sentenced to life imprisonment

following his conviction by a jury of one count of conspiracy to possess with

intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §§

846 and 841. [Criminal Case No. 1:01-cr-00048, Doc. 277: Judgment in a

Criminal Case at 1-2]. Petitioner filed an appeal to the United States Court

of Appeals for the Fourth Circuit, and his conviction and sentence was


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affirmed. United States v. Pryor, 75 F. App’x 157 (4th Cir. Sept. 15, 2003)

(unpublished).1

      On May 18, 2005, Petitioner filed a Section 2255 motion which the

Court dismissed after finding that it was untimely filed. [Civil Case No.

1:05cv212, Doc. 2]. Petitioner noted an appeal to the Fourth Circuit which

was dismissed by Order entered December 20, 2005. United States v.

Rudisill, 159 F. App’x 506 (4th Cir. Dec. 20, 2005) (unpublished).

      On August 17, 2012, Petitioner returned to this Court with his second

Section 2255 motion challenging his criminal judgment.                      Petitioner

contends that he is entitled to relief based on the Fourth Circuit’s opinion in

United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc).

Petitioner argues that his prior state drug convictions no longer support his

enhanced sentence of life imprisonment. Petitioner moves the Court for an

order vacating his life sentence and resentencing him without consideration

of his prior state drug convictions.

II. STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

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 Petitioner’s co-defendant, Kirk Pryor, was given the lead name in a consolidated
appeal.
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proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an

evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).

III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act (“AEDPA”)

provides, in relevant part, that “[a] second or successive motion [under

Section 2255] must be certified as provided in Section 2244 by a panel of

the appropriate court of appeals to contain—

              (1) newly discovered evidence that, if proven and
              viewed in light of the evidence as a whole, would be
              sufficient to establish by clear and convincing
              evidence that no reasonable factfinder would have
              found the movant guilty of the offense; or

              (2) a new rule of constitutional law, made retroactive
              to cases on collateral review by the Supreme Court,
              that was previously unavailable.

28 U.S.C. § 2255(h).

         The present Section 2255 motion is attacking the same criminal

judgment which Petitioner challenged on direct appeal and through his first

Section 2255 effort.      Petitioner has provided no evidence that he has

secured authorization from the Fourth Circuit to file a successive § 2255


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motion; therefore this Court is without jurisdiction to consider the merits of

the present Section 2255 motion, and it will be dismissed. See United

States v. Winestock, 340 F.3d 200, 205 (4th Cir. 2003).

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct.

1029, 154 L.Ed.2d 931 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000)

(holding that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Doc. 1] is DISMISSED as successive.




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      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.

                               Signed: January 14, 2013




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